                Case 1:23-mj-00069-LDA                         Document 1-2          Filed 10/26/23          Page 1 of 1 PageID #: 19
                                                                                                                                   PER 18 U.S.C. 3170
                             DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

BY:         INFORMATION
             INFORMATION                  INDICTMENT
                                           INDICTMENT               COMPLAINT CASE NO. 1:23-MJ-00069 LDA

Matter Sealed:             Juvenile            Other than Juvenile                    USA vs.
    Pre-Indictment Plea          Superseding             Defendant Added                          Jeffrey Locke Slinn
                                                                                  Defendant:
                                      Indictment         Charges/Counts Added
                                      Information                                                 35 Capron Farm Drive
Name of District Court, and/or Judge/Magistrate Location (City)                   Address:        Warwick, RI

UNITED STATES DISTRICT COURT                    RHODE ISLAND
DISTRICT OF NEW MEXICO
            RHODE ISLAND                        Divisional Office

                                      ZACHARY A. CUNHA
Name and Office of Person
Furnishing Information on             ; U.S. Atty    Other U.S. Agency
THIS FORM                             Phone No. (401) 709-5000                            Interpreter Required      Dialect:
 Name of Asst.
 U.S. Attorney         Julie White
 (if assigned)                                                                     Birth                                   ✔ Male                 Alien
                                                                                   Date 5/8/1981                                Female       (if applicable)
                               PROCEEDING
 Name of Complainant Agency, or Person (& Title, if any)
 FBI ~ Craig A. Graham, Special Agent                                               Social Security Number XXX-XX-XXXX

           person is awaiting trial in another Federal or State Court
           (give name of court)                                                                                  DEFENDANT


                                                                                 Issue:         ✔ Warrant            Summons
           this person/proceeding transferred from another district
           per (circle one) FRCrP 20, 21 or 40. Show District
                                                                                 Location Status:
                                                                                  Arrest Date               or Date Transferred to Federal Custody

           this is a reprosecution of charges
           previously dismissed which were                                                Currently in Federal Custody
           dismissed on motion of:
                                                                                          Currently in State Custody
               U.S. Atty      Defense
                                                            SHOW                                Writ Required
         this prosecution relates to a                    DOCKET NO.
                                                                                          Currently on bond
         pending case involving this same
         defendant. (Notice of Related                                                    Fugitive
         Case must still be filed with the
         Clerk.)
                                                             MAG. JUDGE
       prior proceedings or appearance(s)
                                                              CASE NO.
                                                                                 Defense Counsel (if any):
       before U.S. Magistrate Judge
       regarding this defendant were
       recorded under
                                                                                            FPD          CJA            RET'D
                                                                                                  Appointed on Target Letter
Place of    RHODE ISLAND                            County
offense

                                                                                          This report amends AO 257 previously submitted

      OFFENSE CHARGED - U.S.C. CITATION - STATUTORY MAXIMUM PENALTIES - ADDITIONAL INFORMATION OR COMMENTS

 Total # of Counts 2
   Set                  Title & Section/Offense Level                                     Description of Offense Charged                        Count(s)
                                                                                                                                               Felony/Misd.
                     (Petty = 1 / Misdemeanor = 3 / Felony = 4)
                                                                                                                                                 Felony
             18 USC § 2422(b)                                              Attempted Enticement of Minor                                         Misdemeanor
                                                                                                                                                 Felony
             Imprisonment: 10 yrs-Life/ Fine: $250,000                     Supervised Release: 5 years/ Special Assessment: $100                 Misdemeanor
                                                                                                                                                 Felony
             18 USC § 1470                                                 Transfer of Obscene Material to a Minor                               Misdemeanor
                                                                                                                                                 Felony
             Imprisonment: 10 yrs-Life/ Fine: $250,000                     Supervised Release: 3 years/ Special Assessment: $100                 Misdemeanor
                                                                                                                                                 Felony
                                                                           Estimated Trial Days: 3                                               Misdemeanor
